Case 1:15-cv-01023-CBK Document 25-2 Filed 11/07/16 Page 1 of 6 PagelD #: 115

1 UNITED STATES DISTRICT COURT 1 CONTENTS
DISTRICT OF SOUTH DAKOTA
2 NORTHERN DIVISION 2 WITNESSES
3 3 PAGE
SIOUX RURAL WATER SYSTEM, INC., a
4 Non-PromMt Corporation, 4 STEVEN BURIAN
5 Plaintiff, cjyi] Ng. 5 Examination by Mr. Cole 4
5-102
6 vs. 6
7 WATERTOWN, & a South Dakota 7
fun ci cipal Ty, ane ERTOWN
8 MUNTC oes. TEN agency of 8 EXHIBITS
9 tne CITY OF WATERTOUN, 9
10 Defendants. 10 EXHIBIT NO. DESCRIPTION MARKED
il il
6 Fechnical Memorandum 4
@ 2 Watniehgrd wagiet, "Fe
B B ae bagren? ¥A9
14 DEPOSITION OF STEVEN BURTAN 14
15 15
16 16
17 17
18 18
19 DATE: Tuesday, September 20, 2016 19
20 PLACE AE2S, Inc. 20
4536 South 28th, Avenue
21 Fargo, North Dakota 21
22 TIME: 1:51 p.m. 22
23 REPORTED BY: Deanna L. Sager, R.P.R., R.M.R. 23
24 24
25 25
1 3
1 APPEARANCES 1 PROCEEDINGS
2 2 (whereupon, the deposition of STEVEN
FOR THE PLAINTIFF:
3 3 BURIAN commenced at 1:51 p.m. as follows:)
4 Zimmer, D Duncan and Cole, L.L.P. 4 ereu Deposition exhibit
£000 Yeh Broadband Lane et was marked fort i TdentiFt cation by
5 Syite 5 the court reporte
$1 oux, B Is, south Dakota 57108
6 By: amet 6 STEVEN BURIAN,
425 declaw. com
7 7 HAVING BEEN FIRST DULY SWORN TO TESTIFY THE TRUTH
THE WHOLE TRUTH, AND NOTHING BUT THE TRUTH, RELATIVE
8 FOR THE DEFENDANTS: 8 TO THE CAUSE SPECIFIED, TESTIFIED AS FOLLOWS:
9 Richardson, wily, Wise, Sauck & Hieb, LLP 9 EXAMINATION
Attorneys at
10 3 court Street 10 BY MR. COLE:
P.O. BOX
11 Aberdeen, 5 south h pakota 57402 iL Q. could you please state your name?
12 4P Sha yas com 12 A. Steve Burian.
jstue ecrwSh com Los
13 13 Q. Have you ever had your deposition taken
14 14 before?
15 15 A. Now
16 16 Q. Is it okay today if I refer to you as
17 17 Steve?
18 18 A. Sure.
19 19 Q. Steve, if I ask you a question that you
20 20 don't understand, I want you to tell me that.
21 21 otherwise I'm going to assume that you understood the
22 22 question. Is that agreeable to you?
23 23 A. Yes.
24 24 Q. And I'll try not to speak over you and
25 25 you try not to speak over me so we have a clear
2 4

Norman £. Mark Court Reporter Service re
300 NP Avenue, Fargo, ND 58102 701-235-7571 EXHIBIT

 
Case 1:15-cv-01023-CBK Document 25-2

NNN MN Ne Be BR bob
We Ww NM Be OO ON DW

won Dw & WN

NON ON ND NP ON ROR BE RD
SBEBNRSEREHRERARERESE

either, are they?

A. Not that I'm avare of.

Q. okay. And these are recommended
standards, as I understand it, from just looking at
the cover?

Aw = Y@s.

Q. Are you aware of any ruling by any
South Dakota regulatory agency that states that the
10 States Standards are the standard that's to be
used in the construction of facilities in the state
of South Dakota?

Ae No.

Q. Are you aware of any regulatory
decision by any governmental entity in the state of
South pakota that how Sioux Rural water provides
water is insufficient in any way under South Dakota
Jaw?

A. No.
Q. Did you make notes that -~ well, strike
Let me back up a minute.
You did note in your report some areas
that you believe that Sioux does not meet the
10 States Standards; correct?
A. Yes.
Q. And that was what you put into your

that.

25

opinion in this case.

A. ‘That was a part of our opinion. we
also had the benefit of the pGR analysis which that
was really the first thing we started with was pGR's
work. And many of the solutions that pcr drew, in
terms of capacity of different elements, were
utilized as part of the assessment in addition to the
10 States Standards.

Q. Okay. But as I looked at the
conclusions in your report and throughout your
report, you noted that there were insufficient
capacities in several areas. True?

A. Yes,

Q. And those were based upon failure to
meet the 10 States Standards.

A. In most cases they were.

Q. Did you make notes of what particular
section of the 10 States Standards that you found in
your report Sioux did not meet?

A. Idid not. Richard would have to help
with that.

Q. So I quess I just looked at it, and
there are various sections in these recommended
standards for water works. And he would have the
specific section that Sioux fell short on as I

26

Filed 11/07/16 Page 2 of 6 PagelD #: 116

Oo OO o~™ Out Bm wo oN BF

10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25

wean A nN hw hw

Nm NON RD PD oR
SBRORP SESH aAGEREERES

understand it.

A. Yes.

Q. Go ahead if you want to.

A. For instance, on the treatment plant,
though, when we looked at that, that large part of
the treatment plant capacity was based on DGR's
assessment of the treatment plant, and 10 States
Standards were referenced in that case, but it
was -~ the information that we received from DGR was
probably more influential in drawing those opinions
than 10 States Standards were.

Q. Let me ask you, do any of your rural
water customers provide fire protection?

A. Not directly.

Q. And I understand if they provide water
to a municipality that municipality may provide water
protection.

A. ‘That wasn't my point in saying not
directly.

Q. what was your point? 1 didn't mean to
put words in your mouth.

A. We have some rural water districts in
North Dakota that have become heavily urbanized and
they've developed cooperative agreements with their
adjacent municipalities. And so they may own the

27

asset and provide fire protection through that asset,
but it's all been designed to municipal standards and
tha system is actually operated by the municipality
and the fire protection is provided by the
municipality. And Cass Rural water would be a prime
example of that.

Q. That's the county surrounding the Fargo
area?

A. Yes.

Q. The typical rural water system does not
provide fire protection; is that fair to say?

A. = Yas,

Q. And as part of your work with rural
water systems, typically you don't include design
that includes fire protection; is that correct?

A. No. Unless we were asked to provide
that capacity.
Q. Okay. And one of the things I noted in

your opinion, you talk about the inability to provide
fire protection by Sioux.
MR. HIEB: Can you reference where in

the opinion?

Q. well, I'm talking about page 13. You
say fire flow demands in Table 77
A. What page are you on, Jeff?
28

Norman E. Mark Court Reporter Service
300 NP Avenue, Fargo, ND 58102 701-235-7571
Case 1:15-cv-01023-CBK Document 25-2

OW ON DU BwWh

NmMNM NN ON ON)
SERONESEREHATERRES

BRE Swananuawne

mM MN NM hm AD ON OR,
BEONRPSEREHaAGE

Q. Page 13.

A. <I heard 7. So the reason that we
Jeoked at that was because these systems are
currently afforded fire protection. That was the
reason that we looked at that.

Q. Explain your answer.
understand it.

A. All of these users that are
current ~~ that we currently looked at in the west
side that are served by watertown and served by the
east side currently, are served with Fire protection.

Q. Okay. But you know that rural waters
are not required to provide fire protection; correct?

MR, HIEB: Object to the form of the

It calls for a legal conclusion, but go

I don't

question.
ahead.

A. <I guess we didn't really look at the
capacity from that perspective. we looked at it from
the standpoint that this system was receiving a
domestic service ~- these users were receiving
domestic service and they were currently serving fire
protection. We were very careful to bifurcate our
analysis so as to not overlap those two things. So
‘in the memorandum that we developed we drew
conclusions on the domestic side. But then, because

23

they were currently receiving fire flow, we drew
separate conclusions on the fire flow without judging
who was supposed to be providing that.

Q. Okay, If watertown provides the fire
flow as they are now, there's sufficient fire
protection for those customers; true?

A. Assuming the current service is
adequate, yeah.

Q. Now these 10 States Standards, just
from what I read, looks like they've been amended
many times. They were first published in 1962 and
amended in 1968, 1976, 1982, 1987, 1992, 1997, 2003,
2007, and 2012. bdoes that sound right?

A. Yas.

Q. which -- in coming to your opinions
here in the 10 States Standards, which ones of those
did you use in coming to your opinion?

A. 1 don't know.

Q. Did you use the most current 2012
10 States Standard?

A. TI don't know.

Q. Would it be important to note that in
your report?

MR, HIEB:
but go ahead, answer.

Objection. Argumentative,

30

Filed 11/07/16 Page 3 of 6 PagelD #: 117

Ww ON Hw Bm WM be

5

il
12
13
14
15
16
17
18
19
20
24
22
23
24
25

NM NHN NN
RRERRSERRARER

A. I can see a point that if we were more
thorough that would have been something we could have
added. or could add.

Q. Do you know what has been amended or
changed in the 10 States Standards from 1962 until
20127

A. 1 don't.

Q. Is it fair to say that a system, a
water system, that met 10 States Standards in 1987,
I'm just picking that as a year, might not meet those
standards today?

A. It's possible I would think.

Q. You didn't do any analysis to determine
that in this case in coming to your opinions.

A. Not at this point.

Q. Now the 10 States Standards are not
applied retroactively, are they?

A. plain.

Q. well, if you get a 2012 10 State
Standard -- and I understand, just incidentally, that
they amend them about every five years so we should
be coming up on a new one here, but if you have a
2012 edition of the 10 States Standards, you don't
use those 2012 standards to go back and judge
something that was done in 1987 under the standards

31

in place at that time, do you?

A. 1 don't mean to pause, but it depends
on what we were asked to do. If we were asked to
look at the adequacy of that systen in terns of
regulatory compliance versus looking at the adequacy
in current situation, if they were going to move
forward we would probably use the current standard
because that was the current industry practice. If
somebody asked us to say was this okay in 1987, then
I would likely go back to the one that was available
at the time.

Q. Watertown never asked you to do that in
this case, did they?

A. Not to that level of specificity.

Q. You were asked to use the most current
2012 standard.

A. We weren't asked to use any standard.
we were asked to use our judgment in terms of what
the most widely accepted standards were to judge
capacity so that all of our analysis would be
objective and defendable.

Q. Are the 2012 edition standards the most
widely accepted ones today?

A. That I'm professionally avare of.

Q. And so were the 2012 standards the one

32

Norman E. Mark Court Reporter Service
300 NP Avenue, Fargo, ND 58102 701-235-7571
Case 1:15-cv-01023-CBK Document 25-2 Filed 11/07/16 Page 4 of 6 PagelD #: 118

OOnN Aw hw n Be

NON ON NN fet
SEBOSSESERENRREREGHRES

mM ON NON Noe bt
wm WN BH OO wo be g Ln G a

A. IF you operate at 400 gallons per
minute for either 20 or 24 hours of operation, you
don't get 600,000 gallons per day in either
situation.

Q. Do you have any facts that suggest
because of this deficiency that Sioux hasn't been
able to serve any of its existing customers?

A rt don't.

Q. Then you've got 450 gallons per minute
capacity appears deficient; exceeds filter loading
rate of 400 gallons per minute. Do you see that?

Ae Tt do.

Q. Explain what that means.

A. $o at the smaller time frame there
wasn't enough capacity. At the larger time frame you
would have enough hydraulic water, but it was stated
‘in the DGR report that that exceeds the design
standard because of manganese breakthrough.

Q. And as I understand it, you've noted
this in your report, manganese breakthrough is a
cosmetic issue, it's not a safe drinking water issue.

A. Correct.

Q. Do you know of any facts to suggest
that because of this shortcoming that you've
identified that Sioux has not been able to serve any

49

of its customers?

A. IT do not.

Q. Were you ever asked to determine
whether Sioux couldn't serve its current customers
based upon these deficiencies?

A. ‘These deficiencies meaning the
treatment plant? or the entire analysis.

Q. The entire analysis where you say
capacity appears deficient.

MR. HIEB: Object to the form of the
question. I believe it's vague. 1 don't know what
you mean by unable to serve their customers, That
was the analysis we asked them to perform. Are you
talking about whether a customer complained that they
had bad water or not enough water?

Q. Did you understand the question?

A. I didn't.

Q. Okay. Do you have any facts that
suggest that because of these deficiencies Sioux's
customers didn't get water?

A. I don't.

Q. Finished water storage capacity appears
adequate.

MR, HIEB: That's a question?

A. A question?
50

Oo ON Hw & Bw Mm

NON ON RON Ny fa hp
wom WN bh © ts B q B th Ln tad Bb Mm

NNN NN WY
SEUQRASEERRRAE

Q. Do you agree with that?

a Yes.

Q. Then on the west side we've already
talked about this where capacity appears deficient.
Are you willing to at least concede that your
analysis might be incorrect now that this
improvement's been made?

A. TT don't know.

Q. Okay. And then on the east side you
just say you don't know.

A. That's not wactly what we said. we
said that there appears to be unique users that we
would need to complete additional modeling to draw
that conclusion. Or somebody would need to do
further modeling.

Q. Is that the modeling that you've talked
about before?

A. Y@S.

Q. I'm just reading it, and it says,
"acceptability of capacity is unknown.” That's your
opinion.

A. Because we weren't asked to replicate
the modeling, we were asked to interpret the adequacy
of the modeling, we felt the modeling on the west
side was adequate and drew conclusions that we

51

thought made sense. In this case, because the user
base was sufficiently different than what the typical
domestic customers are, we felt it would warrant
putting real user data in there in order to draw that
conclusion.

Q. Have you done that?

A. AS I pointed out earlier, we weren't
asked to actually replicate the modeling so somebody
would have to do that work.

Q. Fair enough.

A. =But no.

Q. Getting at a simple point is, at this
point whether the capacity is acceptable or not is
unknown according to your opinion.

A. YeS.

Q. And did anyone tell you not to take
into account the improvements made on the west side
in coming to your analysis?

A. No.

Q. Is part of your opinion here in Table 7
including a requirement that Sioux provide fire flow
to both of those -- both the west side and the east
side?

But -~

A. Are we suggesting that that's
mandatory? Is that your question?
52

Norman E. Mark Court Reporter Service
300 NP Avenue, Fargo, ND 58102 701-235-7571
Case 1:15-cv-01023-CBK Document 25-2 Filed 11/07/16 Page 5 of 6 PagelD #: 119

BRE S cannue wre

MM ON RON Ne oR be oR ke
SRERBRSBEEBERE RE

Oo we N Ho hw N

NNN NNN BBR
GSRRORESEBEREREERRES

MR, COLE: No.
question back, please?

MR. HIEB: well, he just told you he
didn't understand the question so what would reading
it back be?

Could you read the

MR. COLE: Go ahead and read it back,
please.

THE COURT REPORTER: “Is part of your
opinion here in Table 7 including a requirement that
Sioux provide Fire flow to both of those -- both the
west side and the east side?”

A. We weren't responsible for determining
the requirements.

Q. (Mr. Cole continuing) I guess what I'm
asking is, and I'l] concede maybe the question wasn't
clear, but in coming to your opinion as stated in
table 7, was fire flow and the ability to provide
fire flow part of the analysis?

A. Part of our analysis?
Q. Yes.

A. Yes.

Q.

In terms of the capacity to serve, was
fire flow part of your analysis?

A. Tt was done independently from both a
domestic perspective and a fire flow perspective.
53

And so, yes, that was one element of what we
analyzed. what really warranted that in our opinion
is that when we dug into the service size of those 13
customers, some of those service Tines are greater
than the biggest pipe that Sioux Rural water has in
that vicinity. And so if service lead is bigger then
the entire transmission system, it created technical
questions on our part on how -- what did that user
really need if they had that big a pipe service lead
going into their building.

Q. If you take fire flow out of your
analysis on the west side, do you agree with me that
with the improvements Sioux has the capacity to
serve?

A. We were never given any information
on -- if you read all the reports, there's nowhere is
it stated what the impacts are going to be of the

improvements.

Q. Did you read Darin Schriever's
deposition?

A. Yes.

Q. Do you recall in his deposition that he
talked about additional customers that could be
served on the west side after the improvements were
made?

54

Om ON Hw Bh WM

MN NM Nm Nh AD pt
SEBNRRSERBHRRERERRES

wmon Hum Pw nN

NN NN Nm or
BPRBOSRSEBENRERRRRES

A. don't recall the specifics. Xt was

&4 pages.

Q. You're aware generally, aren't you,
that Darin Schriever had given the opinion that with
these improvements Sioux can serve a number of new
customers on the west side.

A. And wa just didn't do the analysis with
that information in hand.

Q. So you don't know one way or the other
whether you can agree or disagree with that then.

A. Right.

Q. Andon the east side, 1f you take out
the fire flow requirement and you just look at, you
know, domestic demands, you don’t know whether or not
Sioux has the capacity to serve those particular
customers identified.

A. Right.

Q. But would you agree with me, then, that
some of those customers who have lower demands, as
set forth in your report, Sioux could certainly serve
those folks, couldn't they?

A. We weren't asked to look at users on an
‘individual basis. We were asked to look at then
collectively. And so until we knew what the impact
of the larger ones would be, you have to be able to

55

serve the branch, not just an individual customer.

Q. well, let's look at page 9, Table 4.
And let's just go through these. Taking fire flow
out of the equation. Based on the infrastructure
that Sioux has, Sioux could serve Big Shot Fireworks,
couldn't it?

A. We didn't know when we did the report,
and I'm not going to be able to know as we answer the
questions until we were able to assess that in
totality. That customer is less than the assumption
they use in the modeling effort, and so provided all
of the customers also did that, then 1 think that
particular customer could be served.

Q. Okay. And let's just go to Dakota
Automation. That one's below the usage amount too,
isn't it?

A. 2013 they used 35,000 gallons; right?
Q. You're right. They might have a well
I don't know what they've got.

A. would hope they wouldn't run their
well through the meter in watertown. That would get
really pricey.

Q. I don't know what they're doing, but
something changed from 35,000 to --

A. Right. And I'm not being

there.

56

Norman E. Mark Court Reporter Service
300 NP Avenue, Fargo, ND 58102 701-235-7571
Case 1:15-cv-01023-CBK Document 25-2 Filed 11/07/16 Page 6 of 6 PageID #: 120

oOo ON Dw & Wh

MOM OB NM ON RD sata
RRESSRPSERSNARRERR ES

Oo Oon A WM Bh Wh

NM NN ON NS
RARUNRSEREHRRRRERRES

argurentative. It's just that would be a suspect --

Q. You made your point. You're right
about that. I missed it. Fed Ex, though, is within
that range, isn't it?

A. Stmlar to my answer for Big Shot
Fireworks, yes.

Q. So it looks, as we sit here today, like
Sioux could serve Fed Ex if you take fire flow out of
it; true?

A. And if you had the lwury to leok at an
isolated customer.

Q. Okay. And same question for Randy
Hartley.

A. ‘That one’s right on the bubble, but...
A little bit more than -~ I think 5,500 was the
standard that pGR used.

Q. But it's within the realm of
possibility, isn't it?

A. AS an individual customer.

Q. And Lew's Fireworks is also; correct?

A. Y@s.

Q. And -- oh, I see what they've done
here. Okay.
potentially you have to concede that Sioux could
serve them if you take out fire flow.

$o at least for those customers,

57

A. So ~-- we're talking about treatment in
totality, or are we talking about do they fit within
the modeling assumptions that DGR used. Because if
they fit within the modeling that DGR used, the
analysis looked at treatment, the analysis looked at
all aspects of those things, those customers do fit
within the modeling assumptions that pGR used.

Q. Are you finding fault or do you find
fault with any of the modeling assumptions that DGR
used?

A. We feel that for the east side, given
these water use dynamics and given those service
leads, that they should have looked at special class
customers for these larger users when they did the
modeling.

Q. fair enough. But the ones now we've
got some information on; true? The ones we’ve talked
about you've got some information on.

A. For better or worse, we would
have -~ we would look at it in totality of serving
that branch. we didn't -- we weren't thinking of it
as a discrete customer.

Q. You didn't do it one by one, you went
as a whole.

A. Right.

58

Wen HG Uw hm wh

NON ON NM B® oN a
REGQREBERENHERERERRES

won A UV BR WN bi

NN NN Nw bo bt pe
SEQRESERERRRERRES

Q. You could go one by one.

A. Within the model I guess you could take
the model and then you could look to add one user at
a time incrementally and remodel it. That would be
technically possible.

Q. In fact, that's what rural water
systems do, isn't it, they go one by one to decide
whether or not they can add a particular customer.

A. ‘That's not been my eqarience, Jeff.
they're going to go into an area where they think
they need to serve, and they usually go into a
sign-up campaion and they look at all the users
they're going to serve and then they try to have the
ability to put the right pipe in the first time.

Q. Right. That's when they're doing a
service expansion. Fair?
A. Yes.

Q. But when they have a pipe that's in the
ground and they're determining whether or not that
pipe can serve particular customers who want to come
on, they do a customer by customer analysis, don't
they?

A. IF they came in over time they would
take them in the order they were received.

Q. And if that was done in this case, you

59

agree with me that certain of these customers Sioux
certainly could have served.

A. They would be consistent with the
modeling assumptions that pGR used.

Q. I'm going -~ I'm jumping around here
because I'm just about done believe it or not. I
don't know what time it is.

A. I'm good.

MR. HIEB: It's 3:00. You're doing
fine.

Q. In your website you talk about a
realistic design approach for rural waters. What
does that mean?

A. I'm not sure.

Q. I'T1 just show you the -- I'm not going
to mark it as an exhibit. It's your website.

A. The website is done by the marketing
department, and i'm not exactly sure what they
‘intended by that.

MR. HIEB: Want me to get your website
out, Jeff?
MR. COLE: Let's go off the record here
a minute.
(off the record.)
MR. HIEB: Back on the record.
60

Norman E. Mark Court Reporter Service
300 NP Avenue, Fargo, ND 58102 701-235-7571
